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17                                UNITED STATES DISTRICT COURT
18                              NORTHERN DISTRICT OF CALIFORNIA
19                                         OAKLAND DIVISION
20    EPIC GAMES, INC.                                Case No. 4:20-cv-05640-YGR
21          Plaintiff, Counter-defendant              APPLE INC.’S NOTICE OF FILING
22    v.
                                                      The Honorable Thomas S. Hixson
23    APPLE INC.,

24          Defendant, Counterclaimant
25

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     APPLE INC.’S NOTICE OF FILING                                       CASE NO. 4:20-CV-05640-YGR
       Case 4:20-cv-05640-YGR           Document 1043           Filed 11/01/24    Page 2 of 2




 1          Pursuant to the Court’s order of October 30, 2024, see Dkt. 1041, Apple Inc. hereby files with

 2   the Court the documents discussed by the parties in the joint discovery letter brief, see Dkt. 1039, and

 3   their corresponding privilege log entries, see Ex. A.

 4

 5   Dated: November 1, 2024                                        Respectfully submitted,

 6                                                           By: s Mark A. Perry
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 8                                                           Attorney for Apple Inc.

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